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                                                      June 27, 2024


Via CM/ECF

Honorable Michael J. Roemer
United States Magistrate Judge
Western District of New York
2 Niagara Square
Buffalo, New York 14202

Dear Judge Roemer:

                   Re:       Consumer Financial Protection Bureau, et al. v StratFS, LLC, et al.
                             WDNY Case No. 24-CV-40-EAW-MJR

               I write in response to Mr. Behar’s June 25, 2024 correspondence to the Court
regarding the proposed Addendum to Stipulated Protective Order. The Receiver is not a party to
the January 29, 2024 Stipulated Protective Order (Docket No. 100) (the “Protective Order”).
The proposed Addendum would direct the receiver to serve the defendants in this action and is
wholly inappropriate. There is no pending motion seeking the relief Mr. Behar requests which
would provide an opportunity for the Receiver to object to such relief. I communicated the
Receiver’s objection to paragraph 4 of the proposed Addendum to Mr. Photiadis yesterday
afternoon by email (attached to Plaintiff’s letter dated June 26, 2024 (Docket No. 399). As noted
in my prior correspondence to Mr. Photiadis, subject to entry of the Addendum to the Protective
Order in the form agreed to by the Plaintiffs, the Receiver will make reasonable efforts to
provide the Defendants access to Strategic employees with the relevant experience with
Salesforce.

                                                          Respectfully submitted,




                                                          James C. Thoman

JCT




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